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                                  IN THE UNITED STATES DISTRICT COURT
                                 FOR THE SOUTHERN DISTRICT OF GEORGIA
                                           BRUNSWICK DIVISION                    1
                                                                                                =




              UNITED STATES OF AMERICA,


                           V.                              :          CASE NO.: CR209-49


              BENNIE SAMS, JR.
              ERICA L. JACKSON
              JOY L.



                          MAGISTRATE JUDGE'S REPORT AND RECOMMENDATION

                     Defendant Jay Washington (Washington ") has been charged with conspiracy to

              possess with intent to distribute and to distribute a controlled substance, in violation of

              21 U.S.C. § 846; possession with intent to distribute a controlled substance, in violation

              of 21 U.S.C. § 841(a)(1); and aiding and abetting, in violation of 18 U.S.C. § 2.

              Washington filed two (2) Motions to Suppress, to which the Government responded.

              The undersigned conducted an evidentiary hearing on April 5, 2010, at which

              Investigator Eric Melendez, Hank Scott, and Timothy Williams testified. Washington

              filed two (2) post-hearing Briefs. The Government responded. For the reasons which

              follow, Washington's Motions should be DENIED.

                                                 FINDINGS OF FACT

                     The credible testimony given at the evidentiary hearing establishes the following:

                     The Glynn-Brunswick Narcotics Enforcement Team ("GBNET") began receiving

              information regarding Washington's co-Defendant Bennie Sams ("Sams") in 2008.



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              Investigator Eric Melendez ("Melendez") became involved in this investigation during

              2009, and a confidential information ("Cl") had been providing Melendez with

              information on Sams. Melendez stated that, to his knowledge, Sams was living at 327

              Nottingham Drive in Brunswick, Georgia, in April 2009. The CI informed Melendez

              around the first of April 2009 that a shipment of narcotics was to be delivered to that

              address around April 17, 2009. The Cl also informed Melendez that either a black male

              named Jeff or his wife, a black female named Joy, would be driving a rental car from

              Florida to Brunswick, and the driver of this car would be in possession of 200 to 300

              pieces of crack cocaine. Based on this information, Melendez and Sergeant Elliot

              ("Elliot") started surveilling the residence the week he received this information. The CI

              told Melendez that the narcotics shipment was due to arrive at 327 Nottingham Drive

              around 3:00 p.m. on April 17th. Melendez testified that he and Elliot began surveillance

              of the residence about 1:00 p.m. that day and were parked about 150 to 200 feet away

              from the residence and could see the front of the house. Around 3:00 p.m., Melendez

              saw a black female, who was later determined to be Washington, drive up to the

              residence in a white car. Melendez stated that Washington got out of the car, walked to

              the trunk, grabbed a bag out of the trunk, and walked toward the front door of the

              residence. Melendez also stated that a few minutes later, Washington walked back

              from the house to the car and got back into the car. Washington backed out of the

              driveway, and Melendez and Elliot began following the car. Melendez spoke with the

              shift supervisor, Sergeant Lodise, about having an officer driving a marked patrol car

              stop Washington's car. Melendez testified that Sergeant Lodise was able to follow

              Washington's car into the local WaI-mart parking lot, where she parked for a minute or



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                   so and then returned to 327 Nottingham Drive. Once Washington came back to that

                   address, Melendez testified that Washington again got out of the car, went to the trunk,

                   removed a bag, and walked toward the front door of the residence. Melendez testified

                   that Washington was again in the house for a few minutes, got back into the car, and

                   drove away. Melendez stated that, based on his training, knowledge, and experience,

                   he believed a drug transaction had occurred, and he informed other officers to pick up

                   the surveillance of Washington's vehicle. Melendez specifically stated that Officer Hank

                   Scott ("Scott"), who was a canine officer in Giynn County at that time, was instructed to

                   initiate a traffic stop once Washington's vehicle turned southbound onto Interstate 95.

                           Scott testified that he got behind the white Mitsubishi Galant which Washington

                   was driving and noticed that the car crossed over the outside fog line four (4) times.

                   Scott testified that he stopped Washington for failure to maintain her lane at that point,

                   and she told him she was eating her lunch causing her to cross over the fog line. (Hr'g

                   Tr., p. 68). Scott testified that Washington appeared to be nervous. Scott stated that

                   Sergeant Lodise was also at the scene of the traffic stop, and Scott asked Lodise to

                   issue Washington a written warning for failure to maintain her lane. As Lodise was

                   writing Washington a warning, Scott deployed his canine partner, Boxi, and he gave a

                   positive indication' for the odor of narcotics 2 on the passenger-side door handle of

                   Washington's car. Scott asked Washington if she had anything illegal in her car, and

                   she said she did not. Scott then asked Washington if she had any guns, drugs, or large

                   amounts of currency; Washington hesitated, but then told Scott she had about $7,000 in

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                     Scott testified that, when Boxi sniffed the passenger-side front door handle, "his body posture changed,
                   he came up, he sucked in. I could hear his breathing changed and then he sat, which is a final indication
                   [for the presence of narcotics]." (Hr'g Tr., p. 77).

                   2 Scott stated that Boxi was trained to detect marijuana, cocaine (HCL and base), heroin, and MDMA.

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             a case in the trunk of the car. Scott testified that Washington had her cell phone in her

             hand, and he took the phone to look at the messages on it. Scott declared that he was

             checking the cell phone for messages or any other evidence relating to the investigation

             of drug activity. Scott also declared that people involved in criminal activities commonly

             use cell phones to communicate with each other. Scott testified that Washington was

             arrested and placed in the back of a police car after unmarked prescription narcotics

             were found in her car. Washington's rental car and her cell phone were brought to the

             Glynn County Police Department and were checked more thoroughly than they were at

             the scene of the traffic stop. Scott stated that one text message on Washington's cell

             phone stood out to him: "[H]e gave me $15,300; he still owes me $2810. He got 189.'

             (Id. at p. 74).

                     Investigator Tim Williams ("Williams") was also at the scene of the traffic stop,

             arriving as Washington was getting out of the car. Williams assisted Scott in searching

             the car, and he found a black canvas bag with clothes and a pink towel wrapped around

             a plastic bag. Williams stated that there was $15,300 in this plastic bag. Williams

             testified that, when he opened the black bag and lifted the clothes off the top of the

             towel, there was a very strong odor of cocaine, which "almost knocked [him] back[.]"

             (Id. at p. 94).

                     Washington asserts that the search of her car was conducted without a warrant

             and was not supported by probable cause. Washington also asserts that the search of

             her cell phone was improper, and any evidence police obtained as a result of this

             search should be suppressed.




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                                  DISCUSSION AND CITATION TO AUTHORITY

             1.      The Search of Washington's Car

                     Washington contends that, although the vehicle she was driving was mobile and

             operational, police officers did not have probable cause to believe the car contained

             contraband or evidence of a crime. Thus, Washington contends, the facts of this case

             do not fall within the automobile exception to the warrant requirement. Washington

             asserts that the drug dog conducted a "free air" sniff around her vehicle, but probable

             cause has not been established because the Government cannot show the dog's

             reliability in detecting narcotics. Washington alleges that the use of the drug dog in this

             case was improper.

                     The Government avers that, even before the canine detected the odor of

             narcotics on the passenger side door handle, officers had probable cause to search

             Washington's vehicle for contraband 01 evidence of a crime based on the totality of the

             circumstances. The Government contends that Scott made a traffic stop of

             Washington's car, confirmed her identity based on information Melendez had provided

             about possible criminal activity, and noticed Washington's nervous behavior. The

             Government contends that, when Boxi alerted on the passenger-side door handle, it

             only confirmed the existence of probable cause to search the car. The Government

              alleges that Boxi was a certified drug dog before Scott became his handier, Boxi never

              indicated a false positive for narcotics, and Boxi was not trained to alert to the odor of

             food.

                     The Fourth Amendment protects the "right of the people to be secure in their

              persons, houses, papers, and effects, against unreasonable searches and seizures."



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              U.S. CONST. amend. IV. A warrantless search is per se unreasonable under the Fourth

              Amendment unless it falls within one of several specifically established and

              well-delineated exceptions." Holmes v. Kucynda, 321 F.3d 1069, 1082 (llth Cir. 2003)

              (citing Mincev v. Arizona, 437 U.S. 385 (1978)).

                     The automobile exception allows the police to conduct a search of a vehicle if (1)

              the vehicle is readily mobile; and (2) the police have probable cause for the search.

              United States v. Watts, 329 F.3d 1282, 1286 (11th Cir. 2003). "The requirement of

              mobility is satisfied merely if the automobile is operational." Id. Additionally, "[t]here is

              no requirement that the warrantless search of a vehicle occur contemporaneously with

              its lawful seizure or that other 'exigent circumstances' exist." United States v. Lindsey,

              482 F.3d 1285, 1293 (llth Cir. 2007). The key is "whether the police had probable

              cause for the search and seizure of the vehicle." Id. "Probable cause, in turn, exists

              when under the totality of the circumstances, there is a fair probability that contraband

              or evidence of a crime will be found in the vehicle." Id. (internal citations omitted). In

              cases involving the use of a narcotics dog, the Eleventh Circuit Court of Appeals "has

              recognized that probable cause arises when a drug-trained canine alerts to drugs."

              United States v. Anderson, No. 09-12154, 2010 WL 597230, at *2 (llth Cir. Feb. 22,

              2010) (quoting United States v. Banks, 3 F.3d 399, 402 (llth Cir. 1993)). The Eleventh

              Circuit has "held in dicta 'that training of a dog alone is sufficient proof of reliability."' Id.

              (quoting United States v. Sentovich, 677 F.2d 834, 838 n.8 (llth Cir. 1982)).




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                     In this case3 , Scott was aware that Washington left a residence where officers

              believed drug transactions had occurred. Scott initiated a traffic stop based on

              Washington's failure to maintain her lane and noticed Washington's nervous behavior.4

              While Lodise was in the process of issuing Washington a written warning, Scott

              deployed his canine partner, Boxi. Boxi gave an alert for the presence of narcotics at

              the passenger-side door handle. Scott then asked Washington, inter alia, if she had a

              large amount of currency in the car, and, after some hesitation, she admitted to having

              about $7,000 in cash in the car.

                     Scott testified that Boxi was certified in narcotics tracking and detection prior to

              the two of them becoming partners. Scott also testified that he and Boxi attended a six

              (6) week intensive training program with the Jacksonville, Florida, Sheriffs Office, which

              ended at the end of February/beginning of March 2009. Scott stated that Boxi was

              trained to detect five (5) types of narcotics and that he was not aware of any occasion

              when Boxi alerted which turned out to be a false positive. (Hr'g Tr., pp. 63-65). Scott

              declared that Boxi never alerted to the presence of food, and, in fact, during the

              certification process, a food item was placed in a "hide" to make sure he did not alert on

              the food. Scott testified that, though he could not give an accurate number, every time

              Boxi was deployed, there were narcotics inside the vehicle or the drivers of the car

              admitted there had been narcotics in the car to explain Boxi's indication. (Id. at p. 80).




                As Washington does not contest the validity of the traffic stop and concedes that the first part of the
              "automobile exception" was met, the undersigned focuses his analysis on whether probable cause
              existed to search Washington's car.

                Scott did not testify as to what specific behavior Washington displayed which indicated she was
              nervous, but there was no evidence provided at the hearing which called into question the credibility of
              Scott's assessment.

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                   The evidence before the Court reveals that Boxi had been trained and certified to

             alert to the presence of five (5) narcotics—marijuana, heroin, cocaine (HDL and base),

             MDMA. There is no evidence that Boxi ever gave a false indication for the presence of

             narcotics on any occasion in which he was deployed. Police officers had probable

             cause to believe, under the totality of the circumstances, there was a "fair probability"

             that "evidence of a crime" would be found in Washington's car. Lindse y , 482 F.3d at

             1293. This portion of Washington's Motion should be denied.

             11.   The Searches of Washington's Cell Phone

                   Washington contends that the initial search of her cell phone was conducted

             without a warrant and that the exceptions to the warrant requirement are inapplicable.

             Washington also contends that the search warrant which was obtained five (5) days

             after her arrest was obtained after her cell phone had been searched and that

             information obtained during the initial warrantless search was used to obtain the search

             warrant.

                    The Government asserts that the text message in question was obtained incident

             to Washington's arrest, as officers reasonably believed Washington was involved in

             drug distribution activities and that the cell phone she had with her was used to

             communicate with others involved in these criminal activities. The Government alleges

             that Melendez obtained information from Washington's cell phone after the issuance of

             the search warrant that Scott did not see when he searched the cell phone. The

             Government asserts that there was a sufficient, independent basis for the issuance of

             the search warrant, and police officers would have discovered the contents of the cell

             phone once it was searched after the issuance of the warrant.



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                    "Probable cause to arrest exists when law enforcement officials have facts and

              circumstances within their knowledge sufficient to warrant a reasonable belief that the

              suspect had committed 01 was committing a crime.'" United States v. Fuentes, No. 09-

              10358, 2010 WL 724186, *2 (Mar. 3, 2010) (quoting United States v. Flo yd, 281 F.3d

              1346, 1348 (llth Cir. 2002)). 'Where probable cause exists for an arrest, evidence

              obtained during a search incident to arrest is admissible." j, (internal citation omitted).

              "A search incident to arrest is . . allowed of the suspect's person and the immediate

              area from which the suspect can grab a weapon 01 destroy evidence." United States v.

              StandridQe, 810 F.2d 1034, 1037 (llth Cir. 1987); see also, Arizona v. Gant, - U.S.

                   129 S. Ct. 1710, 1791 (2009) (reasoning that police are authorized to search a

              vehicle incident to a recent occupant's arrest only when the arrestee is unsecured and

              within reaching distance of the passenger compartment at the time of the search). This

              exception extends to searches of 'personal property such as a wallet found on the

              person of the arrestee.° United States v. Rodriguez-Aleiandro, 664 F. Supp.2d 1320,

              1346 (N.D. Ga. 2009) (quoting United States v. Richardson, 764 F.2d 1514, 1527 (11th

              Cir. 1985)). Such a search incident to a lawful arrest "is not only an exception to the

              warrant requirement of the Fourth Amendment, but it is also a 'reasonable' search

              under that Amendment." United States v. Wall, No. 08-60016-CR, 2008 WL 5381412,

              at *2 (S.D. Fla. Dec. 22, 2008).

                     A second exception is presented in those situations "when a suspect is brought

              to the stationhouse for booking and detention, law enforcement may remove and

              itemize all property found on the person 01 otherwise in [her] possession." Id. "One of

              the key government interests supporting such inventory searches is the need to account



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              for all property in an arrested person's possession to guard against theft 01 false claims

              as to what was taken by the police. During an inventory search, it is customary for

              officers to sift through bags and purses to document the contents inside." Id. (internal

              citations omitted).

                     A third exception is that "a search may be conducted without a warrant consistent

              with the Fourth Amendment when exigent circumstances exist, such as the threat that

              evidence will be destroyed." j4 (citing United States v. Reid, 69 F.3d 1109 (11th Cir.

              1995)). "Such searches are justified by the futility of seeking out a judicial officer to

              obtain a warrant before crucial evidence is destroyed." Id.

                     The undersigned recognizes Scott's testimony that cell phones are commonly

              used communications devices, particularly in situations involving criminal activity.

              However, the undersigned does not find that Scott's searches of Washington's cell

              phone-- either at the time of her arrest, or later, when Scott was at the station house-- fit

              within an exception to the warrant requirement. There was no evidence at the hearing

              that Scott had a reasonable belief that, had he not searched Washington's cell phone

              without benefit of a warrant, evidence of alleged criminal activity would be destroyed.

              To the extent Scott could be considered conducting an inventory search, he merely had

              to note that Washington's cell phone was taken from the traffic stop and was being held

              in the station's property room. Finally, there is no evidence that exigent circumstances

              existed to justify Scott's warrantless searches of Washington's cell phone.

                     Nevertheless, the undersigned finds that evidence obtained as a result of a

              search of Washington's cell phone should not be subject to suppression. A review of

              the application for search warrant reveals that, even excising the information discovered



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              during Scott's search of Washington's cell phone, the search warrant's issuance is

              supported by probable cause.

                     "Probable cause to support a search warrant exists when the totality of the

              circumstances allow a conclusion that there is a fair probability of finding contraband or

              evidence at a particular location." United States v. Brundidge, 170 F.3d 1350, 1352

              (11th Cir. 1999). "Probable cause is a fluid concept-- turning on the assessment of

              probabilities in particular factual contexts" and is based on the "totality of the

              circumstances test." Id. (internal citations and punctuation omitted).

                     In the search warrant application, Melendez recounted information the CI

              provided him, which he stated was verified and "corroborated for truthfulness through

              other investigative means." (Gov't's Ex. 2, p. 2). Melendez also stated that, in his

              experience and training, cell phones are often used in facilitating narcotics

              transactions. Information pertaining to narcotics suppliers and narcotics buyers are

              maintained on the phones." (j. p. 3).

                     Thus, there was probable cause to believe a search of Washington's cell phone

              could result in obtaining evidence of criminal activity, even in the absence of information

              revealed by Scott's searches of this cell phone. This portion of Defendant's Motion

              should be denied.




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                                               CONCLUSION



                    Based on the foregoing, it is my RECOMMENDATION that Washington's

              Motions to Suppress be DENIED.

                    50 REPORTED and RECOMMENDED, this           day ofJune, 2010.




                                                    [ES E. GRAHAM
                                                   ITED STATES MAGISTRATE JUDGE




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